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                                     Proposed Order Page 1 of 4


1     Roza Crawford (SBN 222380)
      Daniel A. Crawford (SBN 187807)
2
      CRAWFORD LAW GROUP
3     15303 Ventura Boulevard, 9th Floor
      Sherman Oaks, California 91403
4     Tel: (818) 935-6568
      dac@crawfordlawgroup.com
5

6     Attorney for Creditor
      LESLIE KLEIN & ASSOCIATES, INC.
7
                                 UNITED STATES BANKRUPTCY COURT
8

9              CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

10    IN RE LESLIE KLEIN.                             Case No.: 2:23-bk-10990-NB
11                                         DEBTOR. Adv. Case No.: 2:24-ap-01140-NB
12    BRADLEY D. SHARP, CHAPTER 11                    Chapter 11
13
      TRUSTEE,
                    Plaintiff,                        Hon. Neil W. Bason
14

15    vs.
                                                      (PROPOSED) ORDER
16    LESLIE KLEIN, AN INDIVIDUAL; THE
17    SECOND AMENDED KLEIN LIVING
      TRUST, A TRUST; THE MARITAL                     Date: April 8, 2025
18    DEDUCTION TRUST OF ERIKA KLEIN, A               Time: 2:00 PM
      TRUST; THE SURVIVOR’S TRUST OF                  Courtroom: 1545
19    LESLIE KLEIN, A TRUST; AND BARBARA              255 East Temple Street
20    KLEIN, AN INDIVIDUAL,                           Los Angeles, California 90012

21                  Defendants.

22           The Court, having heard and considered the MOTION OF CHAPTER 11 TRUSTEE
23
      FOR ORDER APPROVING SETTLEMENT BETWEEN THE TRUSTEE AND ERICA VAGO
24
      AND JOSEPH VAGO PURSUANT TO BANKRUPTCY RULE 9019, and finding no good
25
      cause therefor, hereby orders the motion DENIED. The Court further orders as follow:
26

27    ______________________________________________________________________________

28    ______________________________________________________________________________


                                           (PROPOSED) ORDER
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1     ______________________________________________________________________________
2
      _____________________________________________________________________________.
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4
      SO ORDERED:
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6     Dated: ______________________

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8
                                              Hon. NEIL W. BASON,
9                                             Judge of the United States Bankruptcy Court
                                              for the Central District of California
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                                      (PROPOSED) ORDER
                                             -2-
     Case 2:23-bk-10990-NB            Doc 980-1 Filed 03/25/25 Entered 03/25/25 14:51:24                Desc
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1      In re: LESLIE KLEIN               Chapter 11
2      Debtor.                           Case No.: 2:23-bk-10990-NB
       BRADLEY D. SHARP, Chapter 11      Adv Case No.: 2:24-ap-01140-NB
3      Trustee
4
                          PROOF OF SERVICE OF DOCUMENT
                  I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.
5
      My business address is 301 East Colorado Boulevard, Suite 520, Pasadena, California 91101.
6
      A true and correct copy of the foregoing document described as “[Proposed] Order” will be
7
      served or was served (a) on the judge in chambers in the form and manner required by LBR
8
      5005-2(d); and (b) in the manner indicated below:
9     I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)
10    Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing
11    document will be served by the court via NEF and hyperlink to the document. On March 25,
12    2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and

13    determined that the following person(s) are on the Electronic Mail Notice List to receive NEF
      transmission at the email address(es) indicated below:
14
                                                        [x] Service information continued on attached page.
15
      II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicated method for each person or
16
      entity served): On March 25, 2025, I served the following person(s) and/or entity(ies) at the last
17
      known address(es) in this bankruptcy case or adversary proceeding by placing a true and correct
18    copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid, and/or
19    with an overnight mail service addressed as follows. Listing the judge here constitutes a
20    declaration that mailing to the judge will be completed no later than 24 hours after the document
21    is filed.

22                                                      [x] Service information continued on attached page.

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                                                (PROPOSED) ORDER
                                                       -3-
     Case 2:23-bk-10990-NB       Doc 980-1 Filed 03/25/25 Entered 03/25/25 14:51:24          Desc
                                   Proposed Order Page 4 of 4


1      In re: LESLIE KLEIN                           Chapter 11
2      Debtor.                                       Case No.: 2:23-bk-10990-NB
       BRADLEY D. SHARP, Chapter 11                  Adv Case No.: 2:24-ap-01140-NB
3      Trustee
4
              I declare under penalty of perjury under the laws of the United States of America

5     that the foregoing is true and correct.
6
      __03/25/2025__               __Jasper Pantaleon__              _/s/_Jasper Pantaleon__
7     Date                         Type Name                         Signature
8
         I.     TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC
9               FILING (“NEF”):
10
         Simon Aron (saron@wrslawyers.com, moster@wrslawyers.com)
11
         Reem J. Bello (rbello@goeforlaw.com, kmurphy@goeforlaw.com)
12
         Jeffrey W. Dulberg (jdulberg@pszjlaw.com)
13       Robert P. Goe (kmuprhy@goeforlaw.com, rgoe@goeforlaw.com,
14       goeforecf@gmail.com)
15       United States Trustee (LA) (ustpregion16.la.ecf@usdoj.gov)
16       John W. Lucas (jlucas@pszjlaw.com, ocarpio@pszjlaw.com)
17       Jeffrey P. Nolan (jnolan@pszjlaw.com)
18       II.    SERVED BY UNITED STATES MAIL:
19
         Hon. Neil W. Bason
20
         United States Bankruptcy Court
21
         255 East Temple Street #1552
22
         Los Angeles, California 90012
23

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                                           (PROPOSED) ORDER
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